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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF INDIANA
                          EVANSVILLE DIVISION
 IN RE:                             )
        VINCENT B. TERRY            ) CASE NO.14-70348–BHL-13
                                    )
             DEBTOR(S)              )

                     TRUSTEE’S MOTION FOR ORDER OF CONTEMPT

       COMES NOW Robert P. Musgrave, Trustee, and files this Motion for Order of Contempt

asking the Court to hold the debtor(s) in contempt for failure to obey the Court’s Order requiring

said debtor(s) to file or provide their 2015 federal income tax return. In support of this motion,

Trustee states as follows:

       1.        The Court entered an order on April 5, 2016, requiring the debtors’ tax returns be

filed with the Court or provided to the Trustee within 10 days if already filed, or by April 15, if

not already filed.

       2.        To date, the debtor(s) have failed to file or provide such returns, showing a

disregard of the Court’s order and a contempt of the Court itself.

       3.        The Trustee requests such contempt be punished by the imposition of sanctions of

a penalty of not less than $100.00 per day from April 18, 2016, and such other sanctions as the

Court may determine proper to deter such contempt in the future.

       WHEREFORE, Trustee prays the Court enter an order as described above, and for all

other relief deemed appropriate in the premises.




                                                   /s/Robert P. Musgrave
April 27, 2016                                     Robert P. Musgrave
                                                   Chapter 13 Trustee
                                                   P.O. Box 972
                                                   Evansville, IN 47706-0972
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon
the following parties, either personally, electronically or by first-class mail April 27, 2016:


U.S. Trustee
101 West Ohio Street, Suite 1000
Indianapolis, IN 46204

VINCENT B. TERRY

750 BAYARD PARK DR.

EVANSVILLE, IN 47713

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ATTORNEY AT LAW
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                                           /s/Robert P. Musgrave
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